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          NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                 ______________________

                 EDWARD KENNEDY,
                   Plaintiff-Appellant

                            v.

 EQUIFAX, INC., RICHARD F. SMITH, AMERICAN
 BANKERS INSURANCE COMPANY OF FLORIDA,
 BARBARA LOPEZ, STEVEN CRAIG LEMASTERS,
              Defendants-Appellees
             ______________________

                       2018-2204
                 ______________________

   Appeal from the United States District Court for the
Eastern District of Pennsylvania in No. 5:18-cv-00214-
JLS, Judge Jeffrey L. Schmehl.
                 ______________________

                     ON MOTION
                 ______________________
PER CURIAM.
                       ORDER
    Equifax, Inc. moves to dismiss this appeal for lack of
jurisdiction. Edward Kennedy responds to the motion.
    Mr. Kennedy filed a complaint at the United States
District Court for the Eastern District of Pennsylvania
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asserting a civil action under the Racketeer Influenced
and Corrupt Organizations Act. Mr. Kennedy now ap-
peals an order in that case granting two defendants an
extension of time to respond to his first amended com-
plaint.
    This court is a court of limited jurisdiction. See
28 U.S.C. § 1295. With regard to appeals from federal
district courts, this court only has jurisdiction in cases
that arise under the patent laws or money-damages
claims against the United States.         See 28 U.S.C.
§ 1295(a)(1)–(2). Accordingly, this court does not have
jurisdiction over this case.
    Pursuant to 28 U.S.C. § 1631, we may transfer an ap-
peal to a court that would have jurisdiction if the appeal
had been brought in that court at the time it was filed.
An appeal from the Eastern District of Pennsylvania
typically would be brought in the United States Court of
Appeals for the Third Circuit. The Third Circuit, howev-
er, only has jurisdiction over “final decisions” of district
courts. See 28 U.S.C. § 1291. Because the district court
has not yet entered a final judgment in the case, transfer
to the Third Circuit is not appropriate here.
    Accordingly,
    IT IS ORDERED THAT:
    (1) The stay of the briefing schedule is lifted.
     (2) The motion is granted. The appeal is dismissed
for lack of jurisdiction.
    (3) Each side to bear its own costs.
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                                  FOR THE COURT

                                  /s/ Peter R. Marksteiner
                                  Peter R. Marksteiner
                                  Clerk of Court
s25
ISSUED AS A MANDATE: September 25, 2018
